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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

UNITED STATES                                                                     PLAINTIFF

v.                                  Case No. 2:14-CR-20027-001

WILLIAM ALEXANDER                                                               DEFENDANT

                                           ORDER

       Currently before the Court are the findings and recommendations (Doc. 59) filed in this

case on November 24, 2014, by the Honorable James R. Marschewski, Chief United States

Magistrate Judge for the Western District of Arkansas. Both parties have waived the right to

object to the report and recommendation for the purpose of expediting acceptance of the guilty

plea in this matter. (Doc. 58).

       The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the report and recommendation is proper and should be and hereby is ADOPTED IN

ITS ENTIRETY.

       Accordingly, for the reasons stated in the Magistrate Judge’s report and recommendation,

Defendant’s guilty plea is accepted, and the written plea agreement is tentatively approved,

subject to final approval at sentencing.

       IT IS SO ORDERED this 25th day of November, 2014.


                                                          /s/P. K. Holmes, III
                                                          P.K. HOLMES, III
                                                          CHIEF U.S. DISTRICT JUDGE
